                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF TENNESSEE
                           NASHVILLE DIVISION

UNITED STATES OF AMERICA,               )
                                        )
           Plaintiff                    )
                                        )
v.                                      )      No. 3:09-cr-00150
                                        )      Judge Campbell/Brown
                                        )
DENNIS J. RODRIGUEZ                     )
                                        )
           Defendant                    )

                                  O R D E R

           The Defendant in this matter filed a motion on March 6,
2010, requesting that the Court order the United States Marshal to
transfer the Defendant to a facility other than Robertson County
Detention Facility (RCDF) during the pendency of this case (Docket
Entry 149). The Plaintiff responded by stating, “The United States
takes no position on whether the Defendant Dennis Rodriguez should
be transferred to another facility or remain in the Robertson
County jail.” (Docket Entry 157).                Chief Judge Campbell then
referred the matter to a Magistrate Judge for a decision.                    After
Magistrate    Judge     Griffin      recused     herself,    the    matter     was
transferred to the undersigned and a hearing was held in this
matter on April 6, 2010.
           For the reasons stated below, the motion to transfer is
DENIED.1

           As an initial matter, the Magistrate Judge was concerned
by the United States’ response that they took no position in this


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      The Defendant, of course, at any time remains free to file a 42
U.S.C. § 1983 and/or a Bivens civil action if he believes his
Constitutional rights have been violated.



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matter.     The Assistant United States Attorney who was present
advised that that decision had been made by the United States
Attorney and that as a matter of policy they would not take a
position on motions such as this.         I requested that a supervisor
appear and give some further explanation of this position.                  The
United States Attorney, Mr. Yarbrough, appeared.             He stated that
since the Court had held in the case of United States of America v.
Williams, 2009 WL 4824940 (M.D. TN Oct. 26, 2009), that the Court
had the authority to transfer pretrial inmates because of jail
conditions, the United States Attorney felt that it would be a
conflict of interest for the United States to take a position on
motions such as this because it might be seen as a form of coercion
of a pretrial inmate to induce a plea.        He further advised that the
matter had been discussed with the United States Marshal Service
and that the United States Marshal Service had their own attorneys
who could appear.     He reiterated that the United States would not
take a position in this matter.
             Quite frankly, the undersigned is dumbfounded by this
position.     A pretrial defendant denied bond is ordered into the
custody of the Attorney General pending trial (Docket Entry 73).
See 18 U.S.C. 3142(i)(2).           If there are allegations that the
conditions     of    pretrial   confinement      violate      Constitutional
standards, it appears incumbent on the United States Attorney, as
legal representative of the Attorney General, and as the legal
representative of the United States, to take a position on the
matter. The United States Attorney in negotiating pleas, regularly
agrees to dismiss charges and recommends particular matters that

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will affect the sentencing guidelines.                At the start of a case the
United States Attorney may well discuss with a defendant or his
attorney whether to allow surrender and agree to recommend release
on bond.     To argue that taking a position on the conditions of
pretrial confinement is somehow coercive is simply an untenable
position.      North Carolina v. Alford, 400 U.S. 25 (1976) and
Bordenkinder v. Haynes, 434 U.S. 357 (1978).                 To paraphrase one of
Judge Higgins’ comments, it appears that the United States Attorney
has retreated from this field of battle at the first sound of
musketry.
             To the Magistrate Judge’s understanding, the United
States Marshal’s Service does not have independent litigating
authority.      This position leaves the United States Marshal’s
Service and the United States without a ready means of presenting
the other side of the story to the extent there is one.
             A Defendant is committed to the custody of the Attorney
General and it should be a rare case, such as Williams, that the
Court need become involved in the actual placement of inmates.
Placement is a function committed by the Attorney General to the
United States Marshal’s Service or the Bureau of Prisons, who are,
in most cases, best able to determine where inmates should be
housed,     given    the    availability        of   beds,    the    necessity     for
separating certain inmates from others, and a number of a day-to-
day practical considerations.
             That    is    why   it   is    particularly      disturbing     to   this
Magistrate Judge that the United States Attorney in effect leaves
the United States Marshal hung out to dry and puts the entire

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burden on the Court to try to determine whether a motion has merit
or not.    With all due respect, the Magistrate Judge believes this
is an abdication of the United States Attorney’s duties.
            The evidentiary portion of the hearing may be summarized
as follows.     In this case the Magistrate Judge allowed Deputy
Marshal Dill to testify the certain facts within his knowledge.
            The Defendant Rodriguez introduced as collective exhibits
the documents attached to his motion Docket Entries 149-1 and 149-
2.     He testified that he was arrested on July 1, 2009, and went
into Robertson County on July 2, 2009.         He stated that at the time
he was incarcerated he weighed approximately 240 pounds and that he
was 5'10" tall (72 inches).         He said that he was not weighed at
RCDF for approximately 10 days and that when he was weighed he
weighed 232 pounds.       He stated that he had filed a number of
grievances about the conditions of RCDF, particularly the food. He
said the food conditions improved in December, but dropped off
again until recently when he complained about his weight loss and
the doctor ordered that he be given double portions, which he is
presently receiving.       He stated that the breakfasts normally
consisted of grits, biscuits, a sausage patty and eight ounces of
juice; that lunch would generally be some type of hamburger or
turkey slice, rice, beans, biscuits and juice; that dinner would
again have small portions of some type of meat, vegetables, and
tea.    He stated that there was no water as such served with a meal
and that soda was not available.         He pointed out that there is no
commissary so the prisoners have no ability to buy any food or
personal items.      He said that the food was served in extremely

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small portions and that it was only in the last two weeks that he
has been given double portions and his weight loss has stabilized.
He also stated that the food was unappetizing and almost inedible.
           He stated that requests for sick call could only be
turned in on Sunday, Tuesday and Thursday. He was in a four-person
cell that was approximately 13' x 13'.           At the present time there
were only three inmates in the cell.           He stated that the inmates
were never given time outside the jail unless they were going to
court or some other outside appointment.                The prisoners were
allowed out of their cells for rotating periods of time from 7:00
a.m. to 11:30 a.m. on one day and the next day they would be
allowed out from 4:00 p.m. to 9:00 p.m.           He stated there was very
little exercise they could do, particularly since they were never
allowed outdoors. He was worried about his health and had been
dizzy at times.      He stated that hygiene conditions were poor, that
he needed lotions for dryness, and for other skin conditions he
had.   He stated that they were not provided deodorant and the
result was that the inmates had poor hygiene and stunk.                He said
that at times they did receive a half slice of an orange or an
apple for the day. Although conditions were better now that he was
on double portions he still remains hungry.
           The Assistant United States Attorney asked no questions.
In response to a question from the Court, he said he had not filed
a specific grievance about his weight loss with the jail or the
Marshal.
           United States Marshal Dill stated that the jail was
inspected by the Marshal’s Service yearly and that the last

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inspection was either in June or July of 2009.                He stated that he
had eaten lunch at the jail twice. Both times he and the inmates
were given two sandwiches--one, as he recalls was some type of
bologna and the other some type of peanut butter along with chips
and a cookie.        He stated he understood that inmates were now
provided a hot meal at lunch, rather than sandwiches.
           Marshal     Dill   said    that      the    Marshal    Service       had
approximately    350   individuals    in     custody    and    that    they     were
scattered at several different institutions.             RCDF was one of the
few institutions that had adequate space and would readily accept
federal   prisoners.       When   asked    by   the    Court    what     were    the
requirements    for    outdoor    activities,     he    stated     the    present
regulations did not require outdoor exercise or activities for
pretrial detainees, although once an individual was sentenced,
outdoor activities were required.          He explained that he believed
the reason for this was that traditionally the pretrial detainees
were considered short-term confinees, whereas sentenced prisoners
were subject to longer terms.2       Marshall Dill testified that to his
knowledge the inmates could submit sick call slips at any time.
Medical expenses outside the normal jail health service provided by
the jail, such as eye examinations and glasses could be requested.
He stated the local United States Marshal did not have expertise in



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      A concern with this policy is that it treats individuals who are
in pretrial confinement and still under a presumption of innocence worse
than inmates who are convicted. There are numerous cases where pretrial
confinement can be longer than an actual sentence of confinement.
Marshal Dill said the RCDF was in the process of renovating the old part
of the jail and should have outdoor areas for the inmates later in the
spring.

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this area, therefore he approved all such requests received from
the jail.
            Defendant’s counsel admitted that since the Williams case
counsel have often filed motions such as this rather than initially
taking the matter up with either the jail or the United States
Marshal3.    Marshal Dill stated that the Marshal Service would much
prefer that complaints initially be sent to the Marshal Service so
they will have an opportunity to address them. He pointed out that
after he received knowledge of the motion in this case he contacted
the jail and it was then the medical staff saw the defendant about
his weight loss and started double rations.
            The Magistrate Judge carefully reviewed Docket Entry 149-
1.     As an initial matter, the Magistrate Judge would note that a
number of sick slips submitted by the Defendant were submitted on
days other than Sunday, Tuesday, and Thursday.             See Docket Entry
149-1, pages 9,11,25,27, and 34.          The records show that he was
admitted to the RCDF on July 2, 2009.          There is no indication in
the records submitted by the Defendant that he was weighed until
July 17, 2009, when his weight was reflected (at page 36) as being
232.




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      It is this Magistrate Judge’s view that prior to bringing motions
of this type defense counsel would be better served to follow in spirit
the requirements of the Prison Litigation Reform Act and exhaust
administrative remedies by making their grievances known to the local
jail facility and/or the United States Marshal’s Service. The local jail
officials and the Marshal’s Service are in the best position to initially
evaluate these complaints. The United States Attorney would then have
a basis to take appropriate action on motions such as this by individuals
committed to the custody of the Attorney General.

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            From the records it appears that the Defendant submitted
approximately 17 sick slips from July 16, 2009, through March 6,
2010.    Not all of his medical notes reflect weight; however, going
in chronological order it appears that he next weighed 223 on
August 21; 219 on September 2; 217 on September 22; 211 on October
22; 206 on November 9; 198 on December 17; 200 on January 1, 2010;
and 193 on February 10. The Defendant in his testimony stated that
he presently weighed 192.
            The Magistrate Judge did not find any indication in the
records that the Defendant specifically complained about weight
loss or food, and no copies of grievances were provided to the
Court.    The Defendant’s most persistent complaint was that he had
migraine headaches and blurred vision.              In some of the reports, he
indicated that he had these problems for a year or so and in others
he indicated that the blurred vision and headaches were only a few
months    old.       It     appears   that    he   was    treated   with    various
medications, including Ibuprofen and Tylenol.                On August 21, 2009,
the RCDF requested the Marshal to approve an eye examination and
glasses.    The Marshal approved the request on August 24, and the
Defendant had his eyes examined on August 31, was prescribed
glasses, and it appears the glasses were picked up on or about
September 23, 2009.           After that there are no further complaints
about headaches or blurred vision.
            The Defendant had a number of complaints about dry skin,
dandruff, and various foot fungi, as well as complaints about an
upper respiratory infections, and in one case a slight amount of
blood in the urine.         He also suffered a sore wrist from striking it

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on a shelf.     He testified that he did not receive an x-ray for the
wrist, however, the medical notes for the examination on October
23, page 21, show that at the time of the examination he was not
complaining of pain when the wrist was moved and stated that he was
able to do push ups without pain.           He stated that the problem with
the knot on his wrist was resolved within two weeks.
              From a review of the records it appears the Defendant did
sustain   a    significant    weight    loss     from   July   to     February   of
somewhere between 45 and 50 pounds.              It does not appear from the
records that the jail personnel monitored or took any action on the
weight loss until the Defendant filed his motion seeking transfer.
The Defendant was then specifically asked about weight loss during
a meeting with the medical staff.           He was put on double rations.
              The Magistrate Judge would note that using the United
States Army weight standards, that an individual 21 to 27 years
old, with a height of 70", has a recommended minimum weight of 132
pounds and a maximum recommended weight of 185 pounds.                      http://
usmilitary.about.com/od/army/1/blmaleweight.htm.
              Thus, even at the present time, the Defendant is above
recommended weight for soldiers of his height and age.
              Nevertheless, as Chief Judge Campbell pointed out in the
Williams case, weight loss is not a penalogical goal. However, the
fact that the Defendant’s weight is still above some recommended
guidelines does indicate to the Magistrate Judge that the weight
loss in this matter does not reach the level of a Constitutional
violation,     particularly    in    view   of   the    fact   that    he   is   now
receiving additional food and his weight has apparently stabilized.

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             In a review of the record it appears to the Magistrate
Judge that the Defendant has been able to submit sick call requests
on numerous occasions and that they have not been limited to
Sunday, Tuesday, or Thursday.          It also appears that for the sick
requests he made, he received screening within a relatively short
period of time by the medical staff.              The fact that the Defendant
has not received everything that he sought, again, does not appear
from a review to violate Constitutional minimal standards.                       The
records do show that he has been prescribed a number of medications
and has received glasses.
             After    careful   consideration          of   the   evidence,      the
Magistrate    Judge    believes      that   the    defendant      has   failed   to
establish conditions which would justify the Court granting the
relief sought.
             It is so ORDERED.

                                            /S/ Joe B. Brown

                                            JOE B. BROWN
                                            United States Magistrate Judge




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